                   UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                       DOCKET NO. 3:18CR203

           V.                                                ORDER

TERRANCE TERRELL CHANDLER


  This MATTER is before the Court on Defendant’s Pending Motion, (Doc. No.24) Motion to
Modify Sentence/Correct Sentence Under Rule 36.

   This correction was made in Amended Judgment (Doc#26 on December 3, 2019.

  IT IS ORDERED, that Defendant’s Motion (Doc. No. 24) is GRANTED AND
CORRECTED.



                                  Signed: October 22, 2021




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